      Case 3:16-md-02741-VC            Document 20285         Filed 02/24/25     Page 1 of 2




                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 310: ORDER
                                                     GRANTING MOTION TO EXCLUDE
   Agosta v. Monsanto Co.,                           OPINIONS OF EXPERT KOTHARI
   Case No. 3:21-cv-06562-VC
                                                     Re: Dkt. No. 18951


         Monsanto’s motion to exclude the opinions of Dr. Shalin Kothari is granted. This ruling

assumes the reader’s familiarity with the facts, the applicable legal standard, the prior Daubert

rulings in this MDL, and the arguments made by the parties. See generally In re Roundup

Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt.

No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019)

(Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir.

2021).

         1. Agosta confirms in his opposition that Kothari is not being offered as a general

causation expert. Agosta Opp. (Dkt. No. 19434) at 4.

         2. With respect to specific causation, Monsanto argues that Kothari did not demonstrate

an ability to judge whether Dr. Tomasetti’s research would support ruling in naturally occurring

genetic mutations as a possible cause of Agosta’s NHL. In response, Agosta points to the

discussion in Kothari’s report about whether Agosta has any genetic disorders that could increase

his risk for NHL. That section mentions “other conditions marked by DNA repair deficiencies,”
      Case 3:16-md-02741-VC           Document 20285         Filed 02/24/25      Page 2 of 2




which is at least somewhat responsive to the idea that NHL can be caused by DNA replication

errors. Kothari Report at 9. But Kothari’s discussion of the topic during his deposition shows that

he failed to grapple with Tomasetti’s scientific theory—a theory that Kothari acknowledges is

important and appears in textbooks and “high impact” publications. Kothari Dep. at 149:8–

151:25. Kothari’s only substantive response to the theory appears to be a critique of the study

design: “if they had done an appropriate study where a known causative factor such as

glyphosate within the world of lymphomas was included in the calculation, this could look very

different.” Kothari Dep. at 163:21–25. But that critique seems to misunderstand Tomasetti’s

work, which compared the effects of random gene replication errors against environmental and

lifestyle factors that were known carcinogens. See Pretrial Order No. 289 at 8. When compared

to Dr. Boyd’s testimony, whose explanation of how he ruled out random mutations was found

scientifically reasonable in Pretrial Order No. 290, Kothari clearly comes up short. Dkt. No.

18320 at 12–13. In the face of the evidence Monsanto has presented relating to this theory,

including the research of Tomasetti, Kothari’s failure to provide a scientifically reasonable basis

for why he did not consider random mutations as a potential cause requires the exclusion of his

specific causation opinion.

       IT IS SO ORDERED.

Dated: February 24, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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